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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE

                                                     )
ALCOM, LLC,
                                                     )
                                                     )
                       Plaintiff                     )
                                                     )
v.                                                   )
                                                             Docket No. 1:20-cv-00152-JAW
                                                     )
JAMES TEMPLE                                         )
and                                                  )
BLACK MOUNTAIN TRAILERS, LLC,                        )
                                                     )
                       Defendants.                   )

                                   FIRST AMENDED COMPLAINT

                             INJUNCTIVE RELIEF REQUESTED
                                 JURY TRIAL DEMANDED

       Pursuant to Fed. R. Civ. P. 15(a)(1), Plaintiff Alcom, LLC, files this First Amended

Complaint as a matter of course against former employee James Temple for preliminary and

permanent injunctive relief and damages as a result of Temple’s violations of his employment

agreement, as well as against Temple and Black Mountain Trailer for violations of Maine’s

Uniform Trade Secrets Act.

                                            PARTIES

       1.      Plaintiff Alcom, LLC (“Alcom”) is a Delaware corporation, licensed as a foreign

corporation in the State of Maine, with a principal place of business in Winslow, Maine. Alcom is

in the business of trailer manufacturing and distribution.

       2.      Defendant James Temple (“Temple”) is an individual citizen residing in Liberty

Hill, TX. Temple is a former employee of Alcom.

       3.      Defendant Black Mountain Trailer (“Black Mountain”) is a Nevada corporation

with a principal place of business in Las Vegas, Nevada. Black Mountain is in the business of

horse trailer manufacturing and distribution and is a direct competitor of Alcom.
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                                  JURISDICTION AND VENUE

        4.      Alcom seeks injunctive relief pursuant to Fed. R. Civ. P. 65, and Maine’s

Uniform Trade Secrets Act, 10 M.R.S. § 1543, and money damages in excess of $75,000.

        5.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332, based upon the diversity of the parties and because the amount in controversy exceeds

$75,000.

        6.      Venue in this Court is proper pursuant to 28 U.S.C. § 1391(a).

                                               FACTS

A.      Alcom’s Business and Business Model

        7.      Alcom is North America’s premiere aluminum trailer manufacturer and produces a

diverse line of trailers, including horse and livestock trailers.

        8.      Alcom has manufacturing facilities in Maine, South Dakota and Montana, and

serves more than 650 custom base dealers, including approximately 34 horse and livestock trailer

dealers, throughout the United States, Australia, China, India and Kuwait.

        9.      Alcom’s customers are dealers who, in turn, sell to end users.

        10.     Alcom’s business model depends on fostering, growing and protecting its

relationships with dealers, so that they continue to look to Alcom to fulfill these business needs as

they arise.

        11.     Alcom’s business model fosters and grows its relationship with dealers through the

use of a highly trained sales force consisting of six full time sales representatives.

        12.     In order to be successful, a sales representative in the trailer industry must have

technical knowledge about the product that Alcom manufacturers as well as strong interpersonal

skills in order to develop the trust and loyalty of its customers.




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       13.        Accordingly, Alcom invests substantial resources in its sales representatives when

they are hired and continuing throughout their employment.

       14.        When they are hired, Alcom’s sales representatives receive specialized training

regarding Alcom’s products and throughout their tenure as employees, they are provided with

Alcom’s customer lists, pricing information, sales and marketing strategy and financial

information so that they are able to have a competitive advantage over other trailer manufacturers

in the market.

       15.        Each sales representative is assigned a certain type of trailer and/or certain territory

so that the sales representative may foster close relationships with dealer customers within that

particular trailer line and/or geographic area.

       16.        To further foster the relationship between Alcom and its dealer customers, Alcom

takes steps to ensure that communication between the company and the dealer customer goes

through that customer’s sales representative.

B.     Alcom’s Trade Secrets

       17.        In addition to the training, product specialization, geographical protection and

other support that Alcom provides to its sales representatives as part of its business model, it also

provides sales representatives with certain valuable trade secret information for use in the course

of their work for Alcom.

       18.        Over the course of its fourteen years in business, Alcom has developed a

comprehensive and proprietary body of information, including customer lists and information,

preferences of existing customers, pricing strategies and information, sales techniques and

financial data.




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        19.     First, Alcom takes meticulous care to guard its customer and sales information

from disclosure outside of the company including by making the information accessible only with

the use of individually assigned and trackable passwords.

        20.     Second, Alcom requires all employees with access to trade secret information to

execute a confidentiality agreement as a condition of their employment.

C.      Temple’s Employment with Alcom

        21.     On or about April 14, 2015, Alcom hired Temple to work as a full time sales

representative, with a focus on horse and livestock trailers. Temple was the sole salesperson in all

of North America for the Frontier line of trailers, which is a line of aluminum horse trailers and

livestock trailers, ranging in sizes for single to multiple horses and different types of livestock.

Temple’s job responsibilities consisted of developing and maintaining sales leads and growing

Alcom’s presence and book of business for all dealers with horse and livestock trailer needs in

North America.

        22.     As a material condition of his employment, Temple was required to, and did sign, a

Confidentiality, Non-Disclosure, and Non-Compete Agreement (the “Employment Agreement”). A

true and correct copy of the Employment Agreement is attached hereto as Exhibit A.

        23.     The Employment Agreement contained a provision entitled “Non-Disclosures of

Confidential Information” whereby Temple agreed “[a]t all times during and subsequent to [his]

employment with the Company . . . to keep in strictest confidence the Company’s Confidential

Information . . .” and that he “will not use, disclose or duplicate the Company’s Confidential

Information without the written consent of the Company . . . .” Exhibit A at Section I.b. In

addition, Temple agreed to return all Confidential Information in his possession upon termination

of his employment. Id. at Section I.c.




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       24.     The Employment Agreement contained a “Non-Solicitation of Customers”

provision whereby Temple agreed not to “[s]olicit, attempt to solicit, or accept work of any kind,

either on my own or as an employee, employer, consultant, agent, principal, partner, shareholder,

or in any other individual or representative capacity, from any customer or customer-referral

source for the Company with whom I had contact during my employment. For the purpose of this

Section II(c), “customer” shall mean any person, business, or entity (i) to whom the Company has

provided products or services within the one (1)-year period preceding the termination of [his]

employment, or (ii) from whom [he] know[s] the Company is actively soliciting business with[in]

the one (1)-year period preceding the termination of [his] Employment.” Id. at Section II.c.

       25.     The Employment Agreement contained a “Non-Competition” provision whereby

temple agreed, during his employment and for a period of twenty-four (24) months following his

termination of employment, not to “[p]articipate in the ownership or control of, act as an

employee, agent, or contractor of, or directly or indirectly engage in or render services to or on

behalf of any person or entity that conducts business in North America and is competitive with the

Company.” Id. at Section II.a.

       26.     By executing the Employment Agreement, Temple explicitly acknowledged that

“the Company has a legitimate need to protect itself from improper or unfair competition and to

protect its Confidential Information, as well as the Company’s customer relationships with both

its prospective and existing customers to protect goodwill” and agreed that “the restrictions

contained in this Agreement are reasonable and necessary to protect the Company’s operations,

legitimate competitive interests, and Confidential Information.” Id. at Section III.

       27.     In addition, Temple acknowledged “the highly competitive nature of the

Company’s business and that irreparable harm would be caused by [his] violation of the

restrictions contained [therein].” Id.


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       28.     Temple further agreed “the Company’s remedies at law for any violations of this

Employment Agreement are inadequate and that the Company has the right to seek injunctive

relief in addition to any other remedies available to it.” Id. at Section V.

       29.     The Employment Agreement expressly provides for an award of attorney’s fees

and costs incurred in the event Temple breaches or defaults under its term. Id.

       30.     Temple was expected to service dealer relationships generated by prior salespeople

and to generate new dealer relationships, while fostering and growing customer goodwill, and in

doing so, had daily and weekly contact with dealers.

       31.     Alcom gave Temple significant support in developing sales and dealer

relationships, including a weekly auto allowance, company credit card to cover fuel, travel,

overnight and other business expenses, laptop and cell phone plan.

       32.     Temple established, on behalf of Alcom, customer trust and goodwill with the

dealers within his product line and territory resulting in over $2 million in revenue for Alcom on

an annual basis.

       33.     While working as a sales representative for Alcom, Temple was exposed to highly

confidential sales and marketing information, including programs to incentivize sales by the

provision of discounts, which information is highly confidential and should not be revealed to

competitors and which Alcom takes extensive efforts to protect from misuse and disclosure.

       34.     In addition, Temple gained unique insight into the needs and operational

requirements of the dealers he solicited on Alcom’s behalf, including information about dealers’

target customer base, customer profiles, decision makers, and marketing strategies.




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D.     Temple’s Fraudulent Resignation from Alcom and Subsequent Employment with
       Black Mountain

       35.     On or about March 13, 2020, Temple resigned from employment with Alcom,

representing to the company that he and his wife planned to go into the property management

business.

       36.     This representation was false and Temple knew it was false when he made it.

       37.     On information and belief, contrary to Temple’s representations to Alcom, he

planned to accept employment with Black Mountain, a competitor of Alcom’s, in violation of his

employment agreement.

       38.     On information and belief, Temple was negotiating his employment with Black

Mountain before he left the employ of Alcom and in so doing, both he and Black Mountain were

aware that his employment with Black Mountain would be a breach of his Employment

Agreement.

       39.     Temple’s last day of employment with Alcom was March 13, 2020.

       40.     Alcom’s records show that on or around his last day of employment, Temple

deleted the vast majority of information and communications on his company issued laptop and

company email account.

       41.     Alcom’s records also show that on Temple’s last day of employment, he sent two

separate requests for Alcom’s price books for the Frontier line of trailers. Temple requested price

books for the east coast and the west coast.

       42.     Despite requesting the price books, Alcom’s business records do not show that

Temple was working on any last minute sales on Alcom’s behalf (let alone multiple sales to

dealers on two different coasts) on his last day of work before starting work with Black Mountain

– a direct competitor.



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       43.      Like Alcom, Black Mountain manufactures and sells horse trailers and related

services to dealers.

       44.      Immediately after leaving Alcom, Temple began working as the Director of Sales

and Marketing at Black Mountain and, upon information and belief, has an ownership interest in

Black Mountain.

       45.      Almost immediately, thereafter, Alcom began to receive reports from dealers

formerly serviced by Temple that he was soliciting their business on behalf of Black Mountain.

       46.      Specifically, Alcom received information from the following dealers on the

following dates:

             a. On or about April 28, 2020, Leonard Truck and Trailer, Inc., stated that it had

                received communications from Black Mountain via Facebook.

             b. On or about April 20, 2020, Producers Co-Op Trailers received communications

                from Black Mountain via Facebook. Around this same time, Producers Co-Op

                Trailers received email communications from Temple. Alcom has since received

                confirmation that Producers Co-Op is now one of Black Mountain’s dealers.

             c. In or around mid-April, 2020, T.D. Wall, Inc., received phone calls and text

                messages with trailer mock ups from Temple.

             d. In or around mid-April, 2020, Key R-D Trailer Sales received communications

                from Black Mountain via Facebook.

             e. On or about April 7, 2020, Scott’s Recreation stated that it had received

                communications from Temple and/or Black Mountain.

       47.      Temple is soliciting some of Alcom’s most profitable dealers. Of the dealers that

Alcom knows Temple is soliciting, their cumulative sales for 2019 were approximately $2.7

million.


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        48.     Temple’s sales efforts for Black Mountain means that he is competing directly

against Alcom.

        49.     In competing against Alcom, Temple is using and imparting to Black Mountain his

knowledge of confidential and proprietary information, including, but not limited to, his

knowledge of pricing, discounts, and promotional programs offered by Alcom to its dealers,

Alcom’s pricing strategies, profit margins, and related confidential information.

        50.     Temple is trading on the goodwill he fostered while employed with Alcom to harm

Alcom’s reputation and business. Alcom is suffering harm to its goodwill and reputation and will

also suffer significant sales losses as a result of Temple’s misconduct.

        51.     Immediately upon learning of Temple’s misconduct, Alcom sent Temple and

Black Mountain a cease and desist letter dated April 17, 2020. A true and accurate copy of this

letter is attached as Exhibit B.

        52.     Despite giving Temple and Black Mountain ten days to provide assurances that

they would honor the terms of Temple’s Employment Agreement, no such assurances have been

made.

        53.     Upon information and belief, Temple is continuing his employment at, and

suspected ownership of, Black Mountain, and continuing to solicit Alcom’s dealers in violation of

his Employment Agreement.

                                             COUNT I

                                    Breach of Contract (Temple)

        54.     The allegations contained in paragraphs 1 through 53 of the Complaint are

incorporated herein by reference.

        55.     As a condition of his employment and for valuable consideration, Temple executed

the Employment Agreement with Alcom. The Employment Agreement prohibits Temple from


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participating in the ownership or control of, or from working in a sales capacity for, a competitor

for 24 months following the termination of his employment.

        56.     Temple is, on behalf of himself and/or for the benefit of Black Mountain, engaging

in the sale and/or distribution of horse trailers and related products within the same territory in

which, and with the same customers with whom, he engaged in such activities for Alcom.

        57.     The Employment Agreement also prohibits Temple from soliciting Alcom’s

customers for 24 months following the termination of his employment.

        58.     Upon information and belief, Temple is, on behalf of himself and/or for the benefit

of Black Mountain, soliciting Alcom’s customers in his efforts to sell and/or distribute horse

trailers and related products.

        59.     Upon information and belief, Temple is using confidential and/or proprietary

information for his own benefit and/or for the benefit of Black Mountain while engaging in the sale

and/or distribution of horse trailers and related products.

        60.     As a result, Temple’s conduct constitutes a breach of the Employment Agreement.

        61.     Temple’s unlawful and wrongful conduct and breach of the Employment

Agreement has caused and will cause Alcom to suffer damages in excess of $75,000 and

irreparable harm.

        62.     Temple’s breach of his contractual obligations will continue unless enjoined by

this Court. Alcom is without adequate remedy at law, and is threatened with irreparable loss,

injury, and damage.

        63.     In addition, Alcom is entitled to actual damages, interlocutory and permanent

injunctive relief against Temple, as well as an award of its attorney’s fees and costs specifically

provided by the Employment Agreement.




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                                             COUNT II

       Violation of Maine’s Uniform Trade Secrets Act (Temple and Black Mountain)

       64.     The allegations contained in paragraphs 1 through 63 of the Complaint are

incorporated herein by reference.

       65.     Alcom’s confidential and/or proprietary information that Temple and Black

Mountain are using constitutes a “trade secret” as that term is defined in 10 M.R.S. § 1542(4).

       66.     Such confidential and proprietary information is not generally known or readily

ascertainable by those other than selected Alcom personnel and Alcom takes careful efforts to

maintain the confidentiality of this information. This information has been developed with a

substantial amount of effort and investment by Alcom and its personnel and is therefore valuable

to Alcom in this competitive market.

       67.     Temple and Black Mountain have and will continue to misappropriate this

information, using it to take current customers away from Alcom by capitalizing on market and

pricing information meant only for use by Alcom personnel.

       68.     Temple’s and Black Mountain’s conduct knowingly and intentionally violates

Maine’s Uniform Trade Secrets Act, 10 M.R.S. § 1541 et seq.

       69.     Alcom has been damaged as a result of Temple’s and Black Mountain’s conduct in

an amount in excess of $75,000.

       70.     Alcom has suffered and will continue to suffer ongoing and irreparable harm

necessitating legal and injunctive relief.

                                             COUNT III

                               UNJUST ENRICHMENT (Temple)

       71.     The allegations contained in paragraphs 1 through 70 of the Complaint are

incorporated herein by reference.


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       72.      Alcom conferred a benefit on Temple by providing him with access to

confidential information, trade secrets, good will, and training obtained within the scope of

his employment.

       73.      Alcom has a continued ownership interest in its confidential information and

good will.

       74.      Temple has retained and/or unlawfully utilized information to his benefit.

       75.      By his acts, Temple has been unjustly enriched at the expense of Alcom.

       WHEREFORE, Alcom requests that this Honorable Court enter the following relief:

       A. A preliminary and permanent injunction:

                i. Enjoining Temple from soliciting Alcom’s customers and violating his

                    Employment Agreement with Alcom for a period of twenty-four months from

                    the date his violations of the Employment Agreement cease or from the date

                    this litigation is fully and finally resolved, whichever is later;

                ii. Enjoining Temple from participating in the ownership of and/or from working

                    for himself and/or Black Mountain or another direct competitor of Alcom’s for

                    a period of twenty-four months from the date his violations of the Employment

                    Agreement cease or from the date this litigation is fully and finally resolved,

                    whichever is later;

                iii. Enjoining Temple and Black Mountain from possessing, using or disclosing

                    Alcom’s confidential and/or proprietary information in violation of the

                    provisions of the Employment Agreement and/or in violation of the Maine

                    Uniform Trade Secrets Act;

       B. An order requiring Temple and Black Mountain to return Alcom’s confidential

             information;


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     C. Judgment in Alcom’s favor and against Temple and Black Mountain for money

        damages to compensate Alcom’s sales lost as a result of Temple’s unlawful

        solicitation of Alcom’s customers;

     D. Judgment in Alcom’s favor and against Temple for its costs of litigation, including

        reasonable attorney’s fees; and

     E. Such other further relief as justice requires.



     Dated at Portland, Maine this 8th day of June, 2020.



                                                    /s/ Jeana M. McCormick
                                                    Melissa A. Hewey
                                                    Jeana M. McCormick

                                                    Attorneys for Plaintiff

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                                   CERTIFICATE OF SERVICE

       I hereby certify that on June 8, 2020 I electronically filed the above First Amended

Complaint with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all counsel of record.




                                                    /s/ Jeana M. McCormick
                                                    Jeana M. McCormick

                                                    Attorney for Plaintiff

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